     Case 2:24-cr-00456-TJH   Document 49   Filed 04/04/25   Page 1 of 3 Page ID #:315



 1

 2

 3

 4

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                  No. 2:24-CR-00456-TJH

11               Plaintiff,                     ORDER CONTINUING TRIAL DATE AND
                                                FINDINGS REGARDING EXCLUDABLE TIME
12                     v.                       PERIODS PURSUANT TO SPEEDY TRIAL
                                                ACT
13   ANDREW LEFT,
                                                TRIAL DATE: [03-17-26]
14               Defendant.                     March 17, 2026 at 10:00 a.m.
15                                              PRETRIAL CONFERENCE DATE:
                                                March 2, 2026 at 10:00 a.m.
16

17

18         The Court has read and considered the Stipulation Regarding
19   Request for (1) Continuance of Trial Date and (2) Findings of
20   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21   parties in this matter on April 2, 2025.           The Court hereby finds that
22   the Stipulation, which this Court incorporates by reference into this
23   Order, demonstrates facts that support a continuance of the trial
24   date in this matter, and provides good cause for a finding of
25   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26         The Court further finds that: (i) the ends of justice served by
27   the continuance outweigh the best interest of the public and
28   defendant in a speedy trial; (ii) failure to grant the continuance
     Case 2:24-cr-00456-TJH   Document 49   Filed 04/04/25   Page 2 of 3 Page ID #:316



 1   would be likely to make a continuation of the proceeding impossible,

 2   or result in a miscarriage of justice; (iii) failure to grant the

 3   continuance would deny defense counsel the reasonable time necessary

 4   for effective preparation, taking into account the exercise of due

 5   diligence; and (iv) the defendant has filed motion to dismiss (ECF

 6   NO. 34) to be heard by the Court on May 5, 2025 and which the Court

 7   anticipates it will promptly resolve.

 8         THEREFORE, FOR GOOD CAUSE SHOWN:

 9         1.    The trial in this matter is continued from September 30,

10   2025 to March 17, 2026.

11         2.    The time period of April 1, 2025, to March 17, 2026,

12   inclusive, is excluded in computing the time within which the trial

13   must commence, pursuant to 18 U.S.C. § 3161(h)(1)(D), (7)(A),

14   (7)(B)(i), and (7)(B)(iv).

15         1.    The Court further sets the following pretrial deadlines:

16               a.    As previously ordered, the hearing on defendant’s

17   motion to dismiss shall be held on May 5, 2025.             See ECF No. 44.

18               b.    All other pre-trial motions, including any motion for
19   a Bill of Particulars if necessary, shall be filed by July 7, 2025;

20   oppositions shall be filed by July 28, 2025; and optional replies

21   shall be filed by August 4, 2025. A hearing on any pretrial motions

22   shall occur on August 18, 2025, or a subsequent date set by the

23   Court.

24               c.    The deadline for providing notice under Rule 404(b) of

25   the Federal Rules of Evidence and disclosure of expert witnesses

26   shall be September 15, 2025; optional rebuttal expert disclosures

27   shall be provided by October 13, 2025.

28

                                            2
     Case 2:24-cr-00456-TJH   Document 49   Filed 04/04/25   Page 3 of 3 Page ID #:317



 1               d.    All motions concerning expert witnesses shall be filed

 2   by October 27, 2025; oppositions shall be filed by November 17, 2025;

 3   and optional replies shall be filed by November 24, 2025.               A hearing

 4   on experts shall be held on December 15, 2025.

 5         3.     All motions in limine shall be filed by January 26, 2026;

 6   oppositions shall be filed by February 9, 2026; and optional replies

 7   shall be filed by February 17, 2026. A pretrial conference and

 8   hearing on motions in limine shall occur on March 2, 2026, or a

 9   subsequent date set by the Court.

10         4.    Defendant shall appear in Courtroom 9C of the Federal

11   Courthouse, 350 W. 1st Street, Los Angeles, California on March 17,

12   2026, at 10:00 a.m.

13         5.    Nothing in this Order shall preclude a finding that other

14   provisions of the Speedy Trial Act dictate that additional time

15   periods are excluded from the period within which trial must

16   commence.    Moreover, the same provisions and/or other provisions of

17   the Speedy Trial Act may in the future authorize the exclusion of

18   additional time periods from the period within which trial must

19   commence.

20         IT IS SO ORDERED.

21

22     April 4, 2025
       DATE                                     THE HONORABLE TERRY J. HATTER JR.
23                                              UNITED STATES DISTRICT JUDGE
24

25

26

27

28

                                            3
